                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

       v.                                                     24-00676-VEC

ALON ALEXANDER,
OREN ALEXANDER, and
TAL ALEXANDER,

       Defendants.

_________________________________/

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
      PRODUCTION OF EVIDENCE UNDER BRADY v. MARYLAND

       Defendants Oren Alexander, Alon Alexander, and Tal Alexander, through counsel, hereby

move to compel the government to produce exculpatory discovery material under Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny. Defendants state the following grounds in support

of this motion.

       Defendants seek discovery regarding the unidentified subjects or accusers the grand jury

alleges to have been sex trafficked or otherwise assaulted by one or more defendants. The

government thus far has declined to provide the identities of these accusers, and has relatedly failed

to identify whom they allege the defendants sex trafficked, whom they allege the defendants enticed,

and who they claim was not sex trafficked, but was otherwise sexually assaulted, as alleged in Count

1 (charging a conspiracy to commit sex trafficking).

       The defendants are charged with conspiracy to commit sex trafficking, in violation of 18

U.S.C. § 1594, along with related substantive-offense charges under 18 U.S.C. § 1591 and § 2422.

The conspiracy count alleges several trips and social or dating events that the government claims
form the basis for sexual conduct or trafficking. To the extent that the government is in possession

of exculpatory evidence related to such events or to the subjects of the charges, it must produce that

evidence to the defense under Brady. “Suppression by the prosecution of evidence favorable to an

accused . . . violates due process where the evidence is material either to guilt or punishment,

irrespective of the good or bad faith of the prosecution.” Id. at 87. See also Giglio v. United States,

405 U.S. 150, 154 (1972) (non-disclosure of impeachment evidence falls within this general rule).

       A.      Brady material, including material relevant to the credibility of uncorroborated
               accusations of sexual contact, regarding: the identity, civil litigation status,
               contemporaneous communication record, interview claims subject to potential
               contradiction (whether internal contradictions, contradictions by photographic
               or other documentary evidence, or subsequent or earlier statements), and other
               surrounding evidence pertaining to any person who is subject of either
               substantive or conspiracy allegations of the indictment.

       The defendants request that this Court order the government to produce the following

categories of evidence, including FBI 302 reports and other reports relating to the allegations made

persons alleged to have been subjected to sexual conduct or intended to be so subjected. Material

requested to be produced under Brady includes any documentation, witness statements, or

investigative results reflecting, reporting, illustrating, or otherwise indicating, as to any person

alleged to be the subject of improper sexual or related conduct:

•      the absence of corroborating evidence that might support any one or all of the allegations,
       with or without formal investigative results of such matters such as the absence of torn,
       soiled, or ruined garments, the absence of any physical injuries or other consequential effects
       of the alleged conduct or photographs, medical records, documentation, or other indicia of
       any injuries or related indicia of any mental injury such as treatment records for any such
       alleged event;

•      any evidence consistent with consensual sex or the absence of sexual contact, including
       evidence of electronic or written communications about any relevant encounter, any
       communication reflecting continued voluntary contact with a defendant or unindicted alleged
       conspirator or witness in periods after the alleged offense as to such person;


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•   that medical treatment was not sought or not administered for either drugging or rape
    (including drug tests; rape kits; STD testing); psychological treatment was not sought;
    contemporaneous reports were not made to police or other authorities or attorneys; the
    absence of complaints made to defendants or party planners;

•   the absence of any other informal or formal complaints as to any incident alleged to be an
    improper sexual encounter, and the absence of any evidence, as to any person who was
    examined (such as at a hospital or doctor’s office), of any testing showing the use of drugs
    attributed to the defendants;
•
•   any evidence that subjects of the charges sought medical attention and were deemed not to
    have any date rape drugs in their system, or any drugs other than those voluntarily consumed;

•   an accuser’s continued interaction with a defendant following any alleged incident; or any
    evidence of decisions to attend future events with the defendants or to recommend such
    events to others;

•   the absence, as to any accuser, of evidence to support the government’s claim of “sex
    trafficking”—including any evidence of subjects initiating contact with the defendants,
    seeking to bring friends to social events, or funding their own travel to or attendance at social
    events, as well as any evidence revealing that such subjects were free to leave social events
    at any time;

•   subjects’ voluntary drug use or voluntary intoxication at or around the time of the alleged
    events or thereafter;

•   contemporaneous or later statements made to other persons conflicting with or failing to
    confirm any part of the accusations now made by the subjects, including statements at any
    time that a subject does not believe that a sexual assault occurred or does not know if sex
    occurred;

•   identification by reasonable means and with any reasonable protective order restriction of any
    accuser to which any count of the indictment relates;

•   any evidence that subjects of the charges were not provided so-called “luxury experiences”
    or other “material benefits”

•   any evidence that any subjects of the charges attended any date or social event without the
    promise of “luxury experiences, travel, and accommodations” as alleged in the indictment;

•   any evidence of any interaction with any subjects of the charges that did not occur at “high-
    end hotels” and/or “vacation properties”;



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•   any evidence that any subjects of the charges met any one of the defendants without any
    “deception, fraud, or coercion” on the part of the defendants;

•   any evidence that subjects of the charges had consensual sex with any of the defendants
    either prior to or following the allegations of non-consensual sex;

•   any evidence that women who dated Oren and Tal Alexander who are now the subject of the
    charges attended events and parties for reasons other than the defendants’ “prominent
    positions in the real estate industry”;

•   any evidence that anyone whom the government alleges was sexually assaulted was not
    enticed, harbored, recruited, transported, maintained or otherwise “lured” by the defendants;

•   any evidence that subjects of the charges allowed other men, apart from the defendants, to
    pay for travel and accommodations;

•   any evidence that subjects of the charges did not make “explicit demands to stop”;

•   any evidence of accusers lying about their age;

•   any evidence that any accusers sought financial compensation, expressed interest in seeking
    financial compensation, or attended FBI interviews with plaintiffs’ attorneys, cf. United
    States v. Cloud, 102 F.4th 968, 975 (9th Cir. 2024) (affirming sanctions of excluding the
    witness and imposing attorneys’ fees based on mid-trial disclosure of agent’s negotiations
    for benefits with the government’s critical eyewitness, including offer to say whatever the
    agent wanted”);

•   any evidence of accusers’ dishonesty; shifting stories; or inconsistencies in accounts of
    events;

•   any evidence that accusers were aware of the accounts of events given by other accusers prior
    to being interviewed by the government; and

•   any evidence that the alleged sex trafficking occurred or was intended to occur outside the
    Southern District of New York.

    B.     Brady material apart from specific accusers’ lack of credibility, including that
           showing that uncorroborated accusations of commercial or other illicit sexual
           contact, that counters the narrative of the substantive or conspiracy allegations
           of the indictment.

•   any evidence that so-called “luxury experiences, travel, and accommodations” or “material
    benefits” or “concert tickets” were provided to dates without any sexual assault allegations,


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    or to “others” attending dates or social events;
•   that there was no sign or record of non-accuser attendee dissatisfaction or complaints as to
    a date or other social event; evidence from event witnesses or otherwise that social events
    included consensual sex or consensual group sex; statements from event witnesses that they
    neither saw nor were aware of G.B. or any date-rape drug or other crimes; the failure to
    interview other event attendees who have not volunteered claims of assault; or the absence
    of any records or statements evidencing the purchase or acquisition of date-rape or similar
    drugs during the alleged conspiracy period;

•   the absence of evidence of any purchase of drugs by the defendants or any alleged co-
    conspirator for use at parties or otherwise by the defendants; the absence of any discussion
    in any communication regarding knowledge of the actual presence of drugs at any alleged
    social encounter;

•   investigation results, including witness assertions or other evidence, indicating the non-
    commercial or non-transactional nature of any sexual contact in relation to the alleged “sex
    trafficking” interactions—such as the absence of any payment, gifts, forced labor,
    prostitution, escort services, employment or contractor status in relation to defendants, or
    other commercial relationship or compensation for or on account of any sexual matter; and
    any statements by any subject denying the commercial nature of any contact with the
    defendants’

•   any evidence that the defendants genuinely considered “starting a relationship” with any of
    the subjects of the charges, cf. DE:63 at 2 (indictment alleging that the defendants used “the
    guise of starting a relationship to lure and entice”);

•   any evidence that the defendants and “other men” did not “pool financial resources” prior to
    any social gathering involving subjects of the charges, including the lack of corroborating
    evidence of such pooled financial dealings;

•   any evidence that the defendants did not interpret a sexual interaction to be non-consensual.
    Cf. DE:63 at 2 (indictment alleging that defendants met with victims under “guise of starting
    a relationship”; then alleging sexual assault; then alleging that defendants subsequently asked
    for another date—i.e. “immediately following the sexual assaults, the defendants sometimes
    offered the victims . . . travel, concert tickets, and other luxury experiences”). The
    indictment frequently alleges conduct that suggests the defendants believed the interactions
    were entirely consensual; to the extent that the government is in possession of such evidence,
    it must be produced;

•   any evidence that “other men” referenced in the Indictment who are not co-conspirators and
    who are not accused of sex trafficking likewise offered to pay for their date’s travel or
    accommodations;
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•      any evidence that defendants did not “share photographs” of the subjects of the charges, or
       were otherwise not attentive to their physical appearance;

•      any evidence that any gatherings, trips, events, or dates occurred without the assistance of
       party promoters;

•      any evidence that Alon and Tal Alexander lacked knowledge of the age of the subject of
       Count 5;

•      any evidence that subjects of the charges were not “incapacitat[ed]” or were voluntarily
       intoxicated; and
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•      statements by any alleged co-conspirators that undermine the government’s characterization
       of them as co-conspirators, including statements to the effect that they did not know of
       criminal sexual assaults or intended sexual assaults and any promises made to such
       individuals to obtain their statements; and any records, documents, electronically stored
       information or other data from or relating to such individuals to the extent the same fails to
       indicate knowledge of any criminal sexual activity or violence or drugging.

       Defendants further, and more comprehensively, seek production of any other evidence the

government is required to produce under Brady, 373 U.S. at 87. See also United States v. Agurs,

427 U.S. 97 (1976) (duty to disclose applicable even when there is no request by the accused). The

government is required to produce any evidence that is “favorable to the accused.” Brady, 373 U.S.

at 87. Evidence calling into question or failing to corroborate lone-witness accusers has universally

been recognized as material to the preparation and presentation of a defense and must be turned over

under Brady. See Giglio v. United States, 405 U.S. 150 (1972); United States v. Marcus, 2006 WL

8446893, at *3 (E.D.N.Y. Dec. 6, 2006) (“[T]aking into account the privacy considerations related

to the records, the court orders the government to produce to the defendant any aspects of the records

that tend to show that CS2 is biased or impeach her credibility, memory or cognition. In recognition

of the importance of CS2's testimony to the government's case, the court orders the government to

interpret its obligations under Brady and Giglio broadly and, in the event of doubt, produce the



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records to the court for in camera review. As an additional measure, the court will review in camera

those records the government did not turn over to the defendant and make additional disclosures of

material information to the extent necessary.”)

       Because the discovery provided to date supports the conclusion that Brady information of

the type described above is present is the FBI 302s or related state law offices’ investigatory

information,1 especially related to accusers’ accounts of events, such reports should be turned over.

 Information that must be disclosed includes “anything said or written, without regard for its

reliability, credibility, or provability.” United States v. McVeigh, 954 F. Supp. 1441, 1450 (D. Colo.

1997). Any doubts as to the usefulness of allegedly exculpatory evidence must be resolved in favor

of disclosure, United States v. Van Brady, 726 F.2d 548, 552 (9th Cir. 1984), and the prosecutor’s

assessment of reliability is irrelevant to the Brady determination. DiSimone v. Phillips, 461 F.3d

181, 195 (2d Cir. 2006). Even if evidence is inculpatory as well as exculpatory, it must be produced.

United States v. Triumph Capital Group, Inc., 544 F.3d 149, 164-65 (2d Cir. 2008). See also Grant

v. Allredge, 498 F.2d 376, 382 n.7 (2d Cir. 1974) (“There may be instances where disclosures of

exculpatory evidence for the first time during trial would be too late to enable the defendant to use

it effectively in his own defense, particularly if it were to open the door to witnesses or documents

requiring time to be marshaled and presented”) (emphasis added) (citation omitted); United States

v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005) (“The prosecutor cannot be permitted to look at the

case pretrial through the end of the telescope an appellate court would use post-trial . . . The only



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         See Kyles v. Whitley, 514 U.S. 419, 437-38 (1995) (government cannot suppress evidence
by compartmentalizing it into separate case investigations or relegating it to different agencies; “the
individual prosecutor has a duty to learn of any favorable evidence known to the others acting on the
government’s behalf in the case, including the police”)

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question before (and even during) trial is whether the evidence at issue may be ‘favorable to the

accused’; if so, it must be disclosed without regard to whether the failure to disclose it likely would

affect the outcome of the upcoming trial.”). See also United States v. Price, 566 F.3d 900, 913 n.14

(9th Cir. 2009) (the Brady materiality standard applied on appeal should not be applied to pretrial

discovery of exculpatory materials). In complying with Brady obligations, the government enjoys

no authority to second-guess whether potential Brady evidence is admissible or relevant, or to refuse

disclosure when it believes the evidence is false or has little probative value.

       This is a case where the government’s entire theory of culpability is based on the accusations

of the subjects of the charges. Notably, in warrant applications, the lead FBI agent has indicated that

the government chose to refer to interactions as rape—and thus sex trafficking—even when accusers

did not characterize the interactions in that manner. And the warrant applications further suggest

that accusers did not attribute any commercial component to any sexual activity. It is mandated

under Brady and its progeny—for the defense to view the progression of the versions of events noted

by the government, i.e., documented internal contradictions and changed recitations, and to compare

those belatedly recounted allegations with contemporaneous records created at the time the incidents

allegedly occurred. This includes, for example, but is not limited to, text and social media messages

and dating app communications. Additionally, to the extent that a subject’s accounts of events have

changed in subsequent interviews with the government—or have differed from accounts that subjects

have given in high-profile media interviews or complaints seeking civil damages—that too is

exculpatory evidence that must be produced; as it is evidence of changed versions of stories

following or preceding widely reported allegations in the news media.

       The government’s categorical rejection of the defense’s request to identify—under any


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protective order the government may propose—the accusers who are the subject of the indictment

exemplifies the importance of an order directing the government to provide material that is Brady

under multiple standards. The defense request as to accuser identity and accusations is meant to

provide a bare minimum remedy for the prejudice of the absence of indictment identification of any

alleged subject of the sexual trafficking allegations or specification of any alleged conduct. It is

impossible for the defendants to know precisely what they are defending against, and thus to prepare

for a defense, without the Brady material alleged above; without knowledge of who the government

says they sex trafficked (as opposed to who is a Fed. R. Evid. 404(b) or 413 witness); and without

knowledge of what the subjects accused them of having done. The evidence produced to date has

revealed that the government faces serious proof deficiencies in its case-in-chief; that is not,

however, a basis to violate the defendants’ due process rights by refusing to tell them anything about

the charges they must ultimately face. These proof deficiencies highlight the constitutional

importance of timely producing Brady materials.

       The “due process implications of Brady” require the Government to “disclose exculpatory

information as soon as the character of such information is recognized.” United States v. Mitchell,

372 F. Supp. 1239, 1257 (S.D.N.Y. 1973). The government’s obligation under Brady supersedes

the timing of discovery under the Jencks Act. United States v. Rittweger, 524 F.3d 171, 181 n.4 (2d

Cir. 2008) (“Complying with the Jencks Act, of course, does not shield the government from its

independent obligation to timely produce exculpatory material under Brady, a constitutional

requirement that trumps the statutory power of 18 U.S.C. § 3500”) (emphasis added).

       Given the constitutional rights at stake, the Second Circuit has previously reversed

convictions where Brady material has been suppressed. See United States v. Rivas, 377 F.3d 195


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(2d Cir. 2005) (government failed to provide statement of cooperator that was both inculpatory and

exculpatory); Triumph Capital, 544 F.3d 149 (2d Cir. 2008) (government suppressed notes of an

attorney’s proffer which showed inconsistencies in witness’s version of events); Leka v. Portuondo,

257 F.3d 89, 91, 93-94 (2d Cir. 2001) (reversing conviction where six days before trial the

government disclosed the existence of an eyewitness who was living one thousand miles away,

whose statement undermined the accounts of government witnesses).

       The government is in possession of material that is favorable to the accused and that is

material to preparation of the defense. The defendants therefore ask this Court to compel the

production of such material under Brady v. Maryland and its progeny, including but not limited to

the categories identified above; the FBI 302 reports detailing the accusations that form the basis for

the charges; and the identity of the people whom the government intend to allege at trial are subjects

of the charges (as it is impossible to impeach the subjects without knowing who they are).

       Counsel for Alon and Tal Alexander have authorized undersigned to represent that they join

in this motion.

            CERTIFICATE OF CONFERRAL PURSUANT TO LOCAL R. 16.1

       Undersigned counsel has attempted to confer with the government regarding the relief

requested by this motion. Government counsel has not replied to a request for production of the

materials identified by this motion emailed on June 1, 2025—one week prior to the filing of this

motion. Government counsel has previously declined to provide the identities of the accusers

forming the basis for the charges in the indictment.




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      Respectfully submitted,

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